Case 3:17-cv-01346-HES-.]BT Document 1 Filed 12/01/17 Page 1 of 11 Page|D 1

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uNlTED sTATEs DisTRICT coURT l 1 ,r 1
MlDDLE DISTRICT oF FLoRn)A " - D; -l ,'“.f l l ; 5;.';
JACKsoerLLE mvlsloN
JOHN FREEMAN, z 9 .":;.:.'; ; .

Plaintiff,
v.

cAsE No.:@f \7~0\/- \3%"3`~ m

DlVERSlFIED CONSUI..TANTS, INC.

 

Defendant.
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§_(M
1. Unwanted “Robocalls" are the #l consumer complaint in America today.
2. The people complaining about harassing robocalls is increasing at an alarming rate.

In 2014, 1,949,603 complained to the Federal Trade Commission (FTC) and Federal
Communications Commission (FCC), in 2015 this number was 2,636,477 and in 2016 it was
3,857,627. ln 2017, between January and August the FTC alone has received more than 3,500,000

robocall complaintsl

3. Diversitied Consultants, lnc. robocalled the Plaintiff 60 times.

4. Diversified Consultants, lnc. has a corporate policy to robocall people thousands of
times.

5. “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the scourge of

modern civilization. They wake us up in the morning; they interrupt our dinner at night; they force
the sick and elderly out of bed; they bound us until we want to rip the telephone out of the wall.’

137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably intended to give telephone

 

l lt is important to recognize these merely reflect the number of individuals that complained to these agencies; the
number of people that have been victimized by illegal robocalling abuse could be close to 100,000,000 in the last 3
years

Case 3:17-cv-01346-HES-.]BT Document 1 Filed 12/01/17 Page 2 of 11 Page|D 2

subscribers another option: telling the autodialers to simply stop calling.” Osorio v. State Farm
Bank, F.S.B., 746 F. 3d 1242, 1256 (l lth Cir. 2014). Despite the penalties put in place over 26
years ago, robocall abuse continues to skyrocket.

6. Plaintiff, John Freeman, alleges Defendant, Diversified Consultants, Inc.,
robocalled him more than 60 times in stark violation of the Telephone Consumer Protection Act,
47 U.S.C. § 227 et seq. (“TCPA”), the Florida Consumer Collection Practices Act, Fla. Stat. §
559.55 et seq. (“FCCPA”), lnvasion of Privacy (“IOP”), and Intentional lnfliction of Emotional
Distress (“llED”).

7. Robocalls are very inexpensive to make. As was noted in a Senate hearing on the
subject: “With such a cheap and scalable business model, bad actors can blast literally tens of
millions of illegal robocalls over the course of a single day at less than l cent per minute.” Stopping
Fraudulent Robocall Scams: Can More Be Done?.' Hearing Bejbre the Subcomm. on Consumer
Prot., Prod. Sajkty, and lns. of the S. Comm. on Commerce, Sci., and Transp., 113 Cong. 113-117
(2013) (statement of Lois Greisman, Assoc. Director, Division of Marketing Practices, Bureau of
Consumer Protection, F ederal Trade Commission).

8. The TCPA was enacted to prevent companies like Diversitied Consultants, lnc.
from invading American citizens’ privacy and prevent illegal robocalls.

9. Congress enacted the TCPA to prevent real harm. Congress found that "automated
or pre-recorded calls are a nuisance and an invasion of privacy, regardless of the type of call" and
decided that "banning" such calls made without consent was "the only effective means of
protecting telephone consumers from this nuisance and privacy invasion." Pub. L. No. 102-243,
§§ 2(10-13) (Dec. 20, 1991), codified at 47 U.S.C. § 227; see also Mims v. Arrow Fin. Servs., LLC,

132 S. Ct. 740, 744 (2012) (“'l'he Act bans certain practices invasive of privacy”).

2

Case 3:17-cv-01346-HES-.]BT Document 1 Filed 12/01/17 Page 3 of 11 Page|D 3

10. According to findings by the FCC-the agency Congress vested with authority to
issue regulations implementing the TCPA-such calls are prohibited because, as Congress found,
automated or prerecorded telephone calls are a greater nuisance and invasion of privacy than live
solicitation calls, and such calls can be costly and inconvenient The FCC also recognized that
wireless customers are charged for incoming calls whether they pay in advance or after the minutes
are used.

JURISDICTION AND VENUE

l l. Jurisdiction and venue for purposes of this action are appropriate and conferred by
28 U.S.C. §1331.

12. Violations described in the Complaint occurred while Plaintiff` was in Jacksonville,
Florida,

FACTUAL ALLEGATIONS

13. Plaintif`f is a natural person and citizen of the State of Florida, residing in
Jacksonville, Florida,

l4. Plaintiff is a “consumer” as defined in Florida Statute § 559.55(8).

15. Plaintif`f is an “alleged debtor.”

l6. Plaintit`f is the “called party." See Breslow v. Wells Fargo Bank, N.A., 755 F. 3d
1265 (l lth Cir. 2014); Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242 (l lth Cir. 2014).

l7. Defendant is a corporation with its principal place of business in Jacksonville,
Florida and conducts business in the State of Floridal

18. Defendant is a “debt collector” as defined by Florida Statute § 559.55(7).

19. The debt that is the subject matter of this complaint is a “consumer debt” as defined

by Florida statute § 559.55(6).

Case 3:17-cv-01346-HES-.]BT Document 1 Filed 12/01/17 Page 4 of 11 Page|D 4

20. Plaintiff is the regular user and carrier of the cellular telephone number at issue,
(904) 713-3371.

21. Plaintiff was the “called party” during each phone call subject to this lawsuit.

22. Defendant intentionally harassed and abused Plaintiff` on numerous occasions by
calling several times during one day, and on back to back days, with such frequency as can
reasonably be expected to harass.

23. Defendant did not have the “express consent” of the Defendant to call him cell
phone.

24. “Express consent” is narrowly construed by the Courts.

25. lt is the Defendant’s burden to prove they had “express consent” per the TCPA to
call the Plaintiff on him cell phone using an “automatic telephone dialing system” (ATDS).

26. lt is the Defendant’s burden to prove they had “express consent” per the TCPA to
call the Plaintiff` on his cell phone using an ATDS for each account they were calling on.

27. Defendant was put on notice Plaintiff did not want the Defendant contacting him.

28. Defendant did not have the express consent of the Plaintiff` to call him on the
accounts they called him on.

29. Plaintiff expressly revoked any express consent Defendant may have mistakenly
believed it had for placement of telephone calls to Plaintiff’s aforementioned cellular telephone
number by the use of an ATDS or a pre-recorded or artificial voice.

30. Defendant attempted to collect a debt from the Plaintiff by this campaign of
telephone calls.

31. Defendant made at least one call to (904) 713-3371.

32. Defendant made at least one call to (904) 713-3371 using an ATDS.

4

Case 3:17-cv-01346-HES-.]BT Document 1 Filed 12/01/17 Page 5 of 11 Page|D 5

33. Defendant made at least ten (10) calls to (904) 713-3371.

34. Defendant made at least ten (10) calls to (904) 713-3371 using an ATDS.

35. Defendant made at least twenty five (25) calls to (904) 713-3371.

36. Defendant made at least twenty five (25) calls to (904) 713-3371 using an ATDS.

37. Defendant made at least fifty (50) calls to (904) 713-3371.

38. Defendant made at least fifty (50) calls to (904) 713-3371 using an ATDS.

39. Defendant made at least sixty (60) calls to (904) 713-3371.

40. Defendant made at least sixty (60) calls to (904) 713-3371 using an ATDS.

41. Each call the Defendant made to (904) 713-3371 in the last four years was made
using an ATDS.

42. Each call the Defendant made to the Plaintiff"s cell phone was done so without the
“express permission” of the Plaintiff.

43. Defendant has called other people’s cell phones without their express consent.

44. Each call the Defendant made to the Plaintiff` was made using an ATDS, which has
the capacity to store or produce telephone numbers to be called, without human intervention, using
a random or sequential number generator; and to dial such numbers as specified by 47 U.S.C §
227(a)(l).

45. The calls at issue were placed by the Defendant using a “prerecorded voice,” as
specified by the TCPA, 47 U.S.C. § 227(b)(l)(A).

46. Plaintiff` repeatedly requested the Defendant to stop calling his cell phone, however,
the Defendant continued to make calls.

47. Defendant has admitted to calling cell phones using an ATDS after that person

asked for the calls to stop.

Case 3:17-cv-01346-HES-.]BT Document 1 Filed 12/01/17 Page 6 of 11 Page|D 6

48. Plaintiff’s conversations with the Defendant putting them on notice that he did not
want more phone calls were ignorcd.

49. Defendant has recorded at least one conversation with the Plaintiff`.

50. Defendant has recorded numerous conversations with the Plaintiff.

51. Defendant has made approximately sixty (60) calls to Plaintiff’s aforementioned
cellular telephone number since in or about November of 2015 which will be established exactly
once Defendant turns over their dialer records.

52. Despite actual knowledge of their wrongdoing, the Defendant continued the
campaign of abusive robocalls.

53. Defendant has been sued in federal court where the allegations include: calling an
individual using an ATDS after the individual asked for the calls to stop.

54. By effectuating these unlawful phone calls, Defendants have caused Plaintiff the
very harm that Congress sought to prevent_namely, a "nuisance and invasion of privacy."

55. Defendant’s aggravating and annoying phone calls trespassed upon and interfered
with Plaintiff’s rights and interests in his cellular telephone and cellular telephone line, by
intruding upon Plaintist seclusion.

56. Defendant’s phone calls harmed Plaintiff by wasting his time.

57. Moreover, "wireless customers [like Plaintiff] are charged for incoming calls
whether they pay in advance or alier the minutes are used." In re: Rules lrnplementing the TCPA
of 1991, 23 FCC Rcd 559, 562 (2007). Defendant’s phone calls harmed Plaintiff by depleting the
battery life on him cellular telephone, and by using minutes allocated to Plaintiff by his cellular

telephone service provider.

Case 3:17-cv-01346-HES-.]BT Document 1 Filed 12/01/17 Page 7 of 11 Page|D 7

58. Defendant’s corporate policy and procedures are structured as to continue to call
individuals like the Plaintiff, despite these individuals revoking any consent the Defendant may
have mistakenly believed it had.

59. Defendant’s corporate policy and procedures provided no means for the Plaintiff to
have his aforementioned cellular number removed from the call list.

60. Defendant has a corporate policy of using an ATDS or a prerecorded or artificial
voice message to collect debts from individuals such as Plaintiff for its financial benefit.

6l. Defendant has numerous other federal lawsuits pending against them alleging
similar violations as stated in this complaint The Defendant has been sued civilly in F ederal Court
400 times since 2014. (Per PACER in November 2017).

62. Since January 2015, Defendant has had 192 complaints classified under
“communications tactics” filed against it with the Consumer Financial Protection Burcau (Per
www.consmneriinance.gov since November 2017).

63. Plaintiff expressly revoked any consent Defendant may have mistakenly believed
it had for placement of telephone calls to Plaintiff`s aforementioned cellular telephone by the use
of an ATDS or a pre-recorded or artificial voice immediately upon Defendant’s placement of the
calls. Making money while breaking the law is considered an incentive to continue violating the
TCPA and other state and federal statutes.

64. Defendant never had the Plaintiff’s expressed consent for placement of telephone
calls to his aforementioned cellular telephone by the use of an ATDS or a pre-recorded or artificial
voice.

65. None of Defendant’s telephone calls placed to Plaintiff were for “emergency

purposes” as specified in 47 U.S.C. §227(b)(l)(A).

7

Case 3:17-cv-01346-HES-.]BT Document 1 Filed 12/01/17 Page 8 of 11 Page|D 8

66. Defendant violated the TCPA and FCCPA with respect to the Plaintiff`.
67. Defendant willfully or knowingly violated the TCPA with respect to the Plaintif`f.

COUNT l
(Violation of the TCPA)

68. Plaintiff incorporates Paragraphs one (l) through sixty-seven (67).

69. Defendant willfully violated the TCPA with respect to the Plaintiff each time they
called the Plaintiff after he revoked his consent to be called by them using an ATDS or pre-
recorded voice.

70. Defendant knowingly violated the TCPA with respect to the Plaintiff, especially for
each of the auto-dialed calls made to Plaintiff’s cellular telephone after Plaintiff revoked his
consent to be called by them using an ATDS or pre-recorded voice.

71. Defendant, Diversified Consultants, lnc. repeatedly placed non-emergency
telephone calls to the wireless telephone number of Plaintiff using an automatic telephone dialing
system or prerecorded or artificial voice without Plaintiff’s prior express consent in violation of
federal law, including 47 U.S.C § 227(b)(l)(A)(iii).

72. As a result of Defendant’s illegal conduct, Plaintiff` suffered actual damages and,
under § 227(b)(3)(B), is entitled to, inter alia, a minimum of $500.00 in damages for each such
violation of the TCPA.

73. Plaintiff is also entitled to, and does, seek injunctive relief prohibiting Defendant,
Diversified Consultants, Inc., from violating thc TCPA in the filture.

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against Defendant for statutory damages, punitive damages, actual damages and any

other such relief the court may deem just and proper.

Case 3:17-cv-01346-HES-.]BT Document 1 Filed 12/01/17 Page 9 of 11 Page|D 9

_C_OM
(Violation of the FCCPA)

74. Plaintiff incorporates Paragraphs one (l) through sixty-seven (67).

75. At all times relevant to this action Defendant is subject to and must abide by the
law of Florida, including Florida Statute § 559.72.

76. Defendant has violated Florida Statute § 559.72(7) by willfully communicating
with the debtor or any member of his family with such frequency as can reasonably bc expected
to harass the debtor or her family.

77. Defendant has violated Florida Statute § 559.72(7) by willfully communicating
with the debtor or any member of his family with such frequency that can reasonably be expected
to harass the debtor or her family.

78. Defendant has violated Florida Statute § 559.72(9) by attempting to enforce a debt
when Defendant knows that the debt is not legitimate or assert the existence of some legal right
when Defendant knows that right does not cxist.

79. Defendant’s actions have directly and proximately resulted in Plaintiff’s prior and
continuous sustaining of damages as described by Florida Statute §559.77.

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against Defendant for statutory damages, punitive damages, actual damages, costs,
interest, attorney fees, enjoinder of future illegal conduct, and any other such relief the court may

deem just and proper.

Case 3:17-cv-01346-HES-.]BT Document 1 Filed 12/01/17 Page 10 of 11 Page|D 10

COUNT lII
(lnvasion of Privacy - Intrusion Upon Seclusion)

80. Plaintiff incorporates Paragraphs one (l) through sixty-seven (67).

81 . Defendant through its collection conduct, has repeatedly and intentionally invaded
Plaintiff’s privacy.

82. All of the calls made to Plaintiff’s cell phone by Defendant and its agents using an
automatic telephone dialing system were made in violation of the TCPA, and were unreasonable
and highly offensive invasions of Plaintiff’ s right to privacy.

83. Defendant’s persistent autodialed calls to his cellular phone eliminated Plaintiff" s
right to be left alone.

84. Defendant’s autodialed collection calls disrupted Plaintiff s privacy, disrupted
Plaintiff’s sleep, disrupted Plaintiff during mealtimes, disrupted Plaintiff during his work, and
continually frustrated and annoyed Plaintiff.

85. These persistent autodialed collection calls eliminated the peace and solitude that
the Plaintiff would have otherwise had in Plaintiff’s home and anywhere else Plaintiff went with
his cellular phone,

86. By calling his cellular phone, Plaintiff had no escape from these collection calls
either in his horne or when he left the home.

87. By persistently autodialing Plaintiff’ s cellular phone without prior express consent,
Defendant invaded Plaintiff’s right to privacy, as legally protected by the TCPA, and caused
Plaintiff to suffer concrete and particularized harm.

88. Defendant’s harassing collection conduct and tactic of repeatedly auto dialing

Plaintiff after requests to stop is highly offensive to a reasonable person.

10

Case 3:17-cv-01346-HES-.]BT Document 1 Filed 12/01/17 Page 11 of 11 Page|D 11

89. Defendant intentionally intruded upon Plaintiff’s solitude and seclusion.

90. As a result of Defendant’s action or inaction, Plaintiff has been damaged.

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against Defendant for statutory damages, punitive damages, actual damages and any

other such relief the court may deem just and proper.

Respectfully submitted,

/s/ Heather H. Jones

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